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UNITED STATES DISTRICT COURT                                                     10/19/2020
SOUTHERN DISTRICT OF NEW YORK

 GLORIA BELL,

                                  Plaintiff,
                                                                1:20-cv-07217 (ALC)
                      -against-
                                                                Order
 ISS FACILITY SERVICES, INC.,

                                  Defendant.

ANDREW L. CARTER, JR., United States District Judge:

        On September 3, 2020, Plaintiff Gloria Bell filed a complaint against Defendant ISS Facility

Services, Inc. ECF No. 1. Defendant filed an answer on October 16, 2020 raising various

affirmative defenses, including failure to state a claim and failure to join a necessary party. ECF No.

10. The parties should submit a joint status report by October 30, 2020 providing details regarding

how the parties would like to proceed with the litigation.

SO ORDERED.



Dated: October 19, 2020                                 ___________________________________
       New York, New York                                     ANDREW L. CARTER, JR.
                                                              United States District Judge
